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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

                v.                                        CRIMINAL NO. 23-cr-177-ABJ

 SHANE LAMOND,

                Defendant.


                     UNITED STATES’ SENTENCING MEMORANDUM

       NOW COMES the United States Attorney for the District of Columbia, Edward R. Martin,

Jr., on behalf of the United States and requests that the Court sentence the Defendant as follows:

       Shane Lamond was a 23-year veteran of the Metropolitan Police Department (“MPD”)

who used his access and power in pursuit of his own personal agenda – and to undermine and

counter the work of MPD. Lamond, a Lieutenant, chose to use his position as head of MPD’s

Intelligence Branch to learn sensitive law enforcement information related to a crime in the

District, and then leak the information he learned to the person he knew committed that crime.

Because Lamond knew what he did was wrong, he lied to cover it up – not just to the Federal

Agents who questioned his actions, but to this Court. This is an egregious obstruction of justice

and a betrayal of the work of his colleagues at MPD. For these reasons, discussed in more detail

below, this Court should adopt Probation’s sentencing recommendation and sentence Lamond to

42-months imprisonment on Count 1, and 6-months imprisonment for each of Counts 2 through 4,

to run concurrently to each other and consecutively to Count 1, for a total of 48-months

imprisonment. This Court should also impose 60 months of supervised released, a $10,000 fine,

and a $400 special assessment.




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       I.      PROCEDURAL BACKGROUND

       On May 18, 2023, a federal grand jury in the District of Columbia returned a four-count

indictment charging Lamond with one count of obstruction of justice in violation of D.C. Code

§ 22-722, and three counts of making false statements in violation of 18 U.S.C. § 1001(a)(2). See

ECF No. 1. Lamond was charged with obstruction of justice for impeding an MPD investigation

into the theft and burning of a Black Lives Matter (“BLM”) banner in Washington D.C. on

December 12, 2020. MPD’s investigation indicated that Enrique Tarrio (“Tarrio”), the leader of

the Proud Boys, was the person responsible for burning the flag.1 Lamond’s obstruction involved,

among other things, tipping Tarrio off to the existence of the warrant for Tarrio’s arrest.

       Lamond was charged with false statements for lies he told federal law enforcement agents

during an interview on June 2, 2022, about his relationship and communications with Tarrio.

Specifically, in Count 2, Lamond was charged with lying when he told the agents that his

relationship with Tarrio “was more, you know, one-sided with just him telling me, you know what

their plans were.” In Count 3, Lamond was charged with lying when he told the agents that he had

tried to find out information from Tarrio about Tarrio’s involvement in the December 12, 2020,

destruction of the BLM banner “without tipping him off to the MPD investigation.” And, in Count

4, Lamond was charged with lying when he said that he “didn’t, you know, inform [Tarrio] that

he had an arrest warrant” for Tarrio’s participation in the December 12, 2020, destruction of the

BLM banner.

       Following a bench trial, Lamond was convicted on all four charges with which he been

charged, one count of obstruction of justice in violation of D.C. Code § 22-722, and three counts




1 Tarrio was arrested and pled guilty to one count of destruction of property in Superior Court in

the District of Columbia for his role in that crime.
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of making false statements in violation of 18 U.S.C. § 1001(a)(2). Sentencing is set for April 25,

2025.

        II.      FACTS RELEVANT FOR SENTENCING

        During trial, the Government presented the testimony of several witnesses and admitted

approximately 100 exhibits into evidence. As this Court found, this evidence proved that Lamond

obstructed MPD’s investigation into the BLM banner burning and lied about the nature and extent

of his communications with Tarrio during an interview with federal law enforcement agents.

Specifically, the evidence established the following sequence of events:

              a. Lamond’s Initial Involvement in MPD’s Investigation of the Banner Burning

        Lamond, then a Lieutenant in charge of MPD’s Intelligence Branch of the Homeland

Security Bureau, inserted himself into MPD’s BLM banner burning investigation even though he

had no specific mandate or reason to do so. On December 18, 2020, Lamond emailed Commander

Leslie Parsons, who supervised MPD’s riot task force; Captain David Hong, who served as a

liaison to FBI; and another MPD officer, to ask whether FBI was investigating the banner burning

as a hate crime. Gov. Ex. 4018 at 20. A few minutes later, Lamond initiated contact with his

supervisor, Sergeant Nicole Copeland, and Commander Parsons and stated, “Please let me know

if you need anything related to this. I know him [Tarrio] so I can probably fill in any blanks you

may have. I have attached his picture for your awareness.” Id.

        On December 19, 2020, the task force sent Lamond photographs of Tarrio at the banner

burning to see if Lamond could positively identify him. Id. at 30. In reply, Lamond stated:

        [I]t is difficult for me to conclusively identify with 100% certainty that the
        individual depicted in this photograph is Mr. Henry “Enrique” Tarrio since I cannot
        see his whole face. However, I physically observed Mr. Tarrio on December 12th
        and have reviewed multiple videos that captured him on December 12th in
        Washington, D.C. Based on a comparison of those videos with the attached
        photograph, I believe this is Mr. Henry “Enrique” Tarrio kneeling down next to the

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          banner based on the clothing he is wearing, the placement of the patches and the
          drink on his tactive vest, and the limited view of his face.

Id. at 34. The task force then sent Lamond additional photographs. Lamond stated that in one,

taken during a march on December 12, it was “100%” Tarrio. Id. at 35. With respect to the others,

he stated that “believed” it was Tarrio. Id. Lamond also wrote:

          I forgot to provide the background on my familiarity with Mr. Tarrio in my previous
          email. I have known him for almost 1.5 years, since meeting him while working
          the Demand Free Speech First Amendment event in July 6, 2019. I have seen him
          in person and spoken with him approx. 5-6 times since first meeting him in July
          2019.

Id. A couple of days later, on December 22, 2020, Lamond also identified Tarrio’s voice on a

podcast that Sergeant Copeland sent him through Commander Parsons. Gov. Ex. 4019 at 3.

          Detective Ashan Mufti, the lead Detective on the banner burning investigation, also

testified that he had a phone call with Lamond, Sergeant Copeland, and an Assistant United States

Attorney during which they discussed with Lamond how he knew Tarrio. Based on Lamond’s

responses, Mufti testified that he understood that Lamond was not still in regular contact with

Tarrio. Detective Then, another Detective assigned to help the banner burning investigation,

agreed.

             b. Lamond’s Undisclosed Contacts with Tarrio

          The evidence proved that Lamond had an ongoing relationship with Tarrio, since at least

October 2019, see Gov. Ex. 4006, but that, consistent with Then and Mufti’s testimony, Lamond

never disclosed to anyone within MPD the extent of his contacts with Tarrio around the time of

the banner burning or during MPD’s investigation of it, and when asked, Lamond lied to the federal

law enforcement agents about it.

          As Detective Then corroborated through his testimony, Lamond led others in MPD to

believe that his contacts with Tarrio had always been limited to receiving information about

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potential protests or other Proud Boys activity in the District. In fact, a review of Lamond’s

contacts with Tarrio – obtained from Tarrio’s and Lamond’s phones – reveals that in the months

leading up to January 6, Lamond had ongoing and regular contacts with Tarrio, see Gov. Exs.,

4005-4018, 4028, 4029; purposefully moved their contacts from regular text messages to

Telegram, an encrypted messaging service, Gov. Ex. 4012; set messages in Telegram to “self-

destruct” after Tarrio read them so they would not be recoverable, Gov. Ex. 4019 at 2; and

frequently gave Tarrio sensitive law enforcement information, see e.g. Gov. Exs. 4018 at 23, 4019

at 3, 4024.

       Lamond’s and Tarrio’s contacts were recovered from Tarrio’s phone, which was seized

upon his arrest on January 4, 2021. The evidence proved that Lamond purposefully deleted the

Telegram chat he used with Tarrio to exchange messages prior to that date.

              c. Lamond Shares Information about the Status of MPD’s Banner Burning
                 Investigation with Tarrio and Withholds Information from MPD

       Lamond leaked information about the banner burning investigation with Tarrio and

withheld information from MPD that directly implicated Tarrio. As proven at trial, Tarrio did not

become the primary subject of MPD’s investigation into the banner burning until he publicly

claimed responsibility on Parler. Gov. Ex. 4004. After the burning and before Tarrio claimed

responsibility, however, Lamond got drinks with Tarrio at the Dubliner, a bar located in a hotel

near the Capitol on December 15, 2020. See Gov. Ex. 4018 at 8. Lamond did not take any other

MPD personnel with him and did not document the content of the meeting, even though Lamond

later admitted that he knew statements made by suspects should be documented. See 12/06/24 Trial

Tr. at 70:19-25. According to Lamond’s messages with Tarrio on December 13, 2020, the purpose

of the meeting was to answer Tarrio’s question about “what’s the general consensus with DC metro

and my guys?” Id. at 5. Tarrio asked this question after Lamond told Tarrio one person had been


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arrested for stabbing some Proud Boys members in an altercation that occurred earlier in the

evening on December 12, before the burning. Id. at 4. The evidence proved that when Lamond and

Tarrio met for drinks at the Dubliner, Tarrio confessed to him that he had burned the BLM banner.

Id. at 11. Lamond never told anyone at MPD about this confession.

       On December 18, 2020, Lamond learned of an anonymous tip identifying Tarrio as

participating in the banner burning at 7:26am. Id. at 14. Less than 10 minutes later, at 7:34am,

Lamond messaged Tarrio on Telegram and asked, “Hey brother, did you call in an anonymous tip

to MPD claiming responsibility for the banner burning?” Id. at 15. At 9:30am, Tarrio responded,

and he and Lamond had the following exchange:

       TARRIO:        I did more than that. It’s on my social media.

       LAMOND:        I gotcha. Someone called in an anonymous tip saying that you claimed
                      responsibility for it.

       TARRIO:        This wasn’t a hate crime. And I want to see it play out.

       LAMOND:        I’m curious to see what happens too. I will check with our CID people if
                      they have you on video.

Id. at 17. Later the same day, Tarrio asked Lamond what he thought about the banner burning and

whether “they’ll make a stink of it.” Id. at 22. Lamond responded by providing information about

MPD’s sensitive internal discussions:

       No, a bit of the opposite. I’ve been talked to CID about it. They wanted to know
       what I know about your group and if I think you all are racist. I told them you are
       made up of a lot of Latinos and blacks so not a racist thing. If anything I said it’s
       political but then I drew attention to the Trump and American flags that were taken
       by Antifa and set on fire. I said all those would have to be classified as hate crimes
       too. It’s not being investigated by FBI though. Just us (MPD).

Id. at 23. After Tarrio responded, “Ahhhh ok!” and “Awesome,” Lamond further shared, “I don’t

think they have any pictures of you though.” Id. at 24.



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       The next day, December 19, 2020, Lamond messaged Tarrio, “Police want to talk to you

about the banner. You have a certain phone number you want me to give them.” Id. at 31. As

proven at trial, it was unnecessary for Lamond to ask this question, he was never asked to do so,

and he never informed anyone that he did. The evidence proved that Tarrio used this information

to consult an associate, who instructed Tarrio how to respond once MPD reached out. Id. at 36-37.

The next day, when Detective Mufti messaged Tarrio, Tarrio informed him that he was taking the

Fifth. Gov. Ex. 4019 at 1.

       As demonstrated at trial, beginning on December 22, 2020, Lamond and Tarrio used the

Telegram self-destruct feature, meaning any messages would automatically delete from the chat

after a certain time once the recipient opened it. After December 22, 2020, there were only two

recovered communications between Tarrio and Lamond. See Gov. Ex. 1002. First, on December

25, 2020, Lamond sent Tarrio the following message: “Just a heads up, CID had me ID you from

a photo you posted on Parler kneeling down next to the BLM banner so they may be submitting

an arrest warrant to US Attorney’s Office.” Gov. Ex. 4019 at 3. Second, on December 30, 2020,

at 6:34pm, shortly after a signed version of the warrant was sent to Det. Mufti, Lamond, and Tarrio

had an approximately 14-minute phone call, made through the Telegram app. Gov. Ex. 4021 at 1.

       The evidence also proved that on January 4, 2021, Lamond told Tarrio that the warrant for

his arrest had been signed. See Gov. Exs. 4024, 4034.

       During trial MPD witnesses testified that Lamond never disclosed to MPD personnel

involved in the banner burning investigation and Tarrio’s arrest that he was providing information

about the investigation and arrest to Tarrio. They also testified that Lamond never disclosed that

Tarrio had provided him relevant and useful information about the banner burning, including that

Tarrio had confessed to burning the banner to him directly. They further testified that had Lamond



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been honest about the extent of his communications with Tarrio, the investigation would have

moved much faster, been more streamlined, and the risk of harm to the integrity of the evidence

would have been much less. They also testified how Lamond’s actions risked the destruction of

evidence, witness flight, and jeopardized officer safety.

       MPD obtained the arrest warrant for Tarrio on December 30, 2020, at 5:56pm, for

destruction of property. Gov. Ex. 4021 at 1. Tarrio was scheduled to fly into Ronald Reagan

National Airport on January 4, 2021. See Gov. Exs. 2001, 2005, 2007, 4024. MPD set up its arrest

plan to have plain clothes officers follow Tarrio through the airport, to follow him in a car as he

drove into D.C., and to arrest him when he crossed the border from Virginia to D.C. The

government proved at trial that while in flight, Lamond told Tarrio about the warrant. Despite this,

Tarrio was arrested without incident.

           d. Lamond Shares Information with Tarrio about other Law Enforcement
              Activity

       In addition to sharing information with Tarrio about the banner burning investigation,

Lamond also shared information with Tarrio about other law enforcement activity, including First

Amendment Activity. See e.g. Gov. Exs. 4016 at 1, 4017 at 4. While testifying at trial, Lamond

admitted to providing Tarrio information related to First Amendment Activity – information he

admitted he learned because he was a police officer. See e.g., 12/06/2024 Trial Tr. at 97:19-98:13;

101:25-104:12; 108:4-130:7. Specifically, when asked if he provided Mr. Tarrio with police

information about First Amendment activities, Lamond stated: “That’s fair to say, yes.”

           e. Lamond’s Interview and False Statements to Law Enforcement

       Lamond lied at least three times to Special Agent in Charge Bryan Molnar and Special

Agent Sean Ricardi of the Criminal Investigations Unit of the U.S. Attorney’s Office when he was

interviewed on June 2, 2022.


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       First, Lamond lied when he told Agent Ricardi that his relationship with Tarrio “was more,

you know, one-sided with just him telling me, you know what their plans were.” As described in

more detail above, the evidence proved at trial that the conversations between Tarrio and Lamond

were not one-sided. As Special Agent Elizabeth Hadley testified, Lamond and Tarrio

communicated at least 700 times and Lamond routinely provided Tarrio with information.

       Second, Lamond lied when he told Agent Ricardi that he had tried to find out information

from Tarrio about Tarrio’s involvement in the December 12, 2020, destruction of the BLM Banner

“without tipping him off to the MPD investigation.” Also described in more detail above, the

evidence proved at trial that Lamond routinely tipped Tarrio off about the MPD banner burning

investigation, including about whether MPD was investigating the banner burning as a hate crime,

Gov. Ex. 4018 at 23, that FBI was not investigating, id., that the police wanted to speak to Tarrio

about the banner burning, id. at 31, that Lamond was being asked to identify Tarrio in photos, Gov.

Ex. 4019 at 3, that MPD was preparing an arrest warrant, id., and that the arrest warrant had been

signed, Gov. Exs. 4024, 4034.

       Third, Lamond lied when Lamond told Agent Ricardi that he “didn’t, you know, inform

him that he had an arrest warrant” for Tarrio’s participation in the December 12, 2020, destruction

of the BLM Banner. As the evidence proved at trial, Lamond informed Tarrio about the warrant

for his arrest while Tarrio was on a plane traveling from Miami to the District on January 4, 2024.

Gov. Ex. 4024, 4034.

           f. Lamond’s Admissions at Trial

       At trial, Lamond testified on his own behalf. During his testimony, Lamond admitted that

he knew leaking sensitive information to Tarrio was wrong, but that he did it anyway. These

admissions include that Lamond knew: 1) Tarrio was the suspect of a crime, 12/06/24 Trial Tr. at



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123:24-25, 124:1; 2) deleting communications with the suspect of a crime was wrong, id. at 71:1-

4, 124:7-10; 3) it was wrong to delete communications with a suspect of a crime because it could

impede the investigation, id. at 71:5-7, 124:11-13; and 4) setting the self-destruct timer in

Telegram automatically deleted the messages in that chat, id. at 77:13-78:1. Lamond also admitted

5) that he set his Telegram communications with Tarrio to self-destruct, id. at 76:23-25; and, as a

result, 6) deleted communications with Tarrio, id. at 77:13-78:1, 125:11-14; and 7) that could have

impeded the banner burning investigation, id. at 71:5-7, 124:11-13. Lamond further admitted that

he provided Tarrio with police information about First Amendment Activity and the banner

burning investigation, and that he was not authorized to do so. Id. at 130:5-21.

           g. Lamond’s Obstruction at Trial

       Lamond’s testimony at trial was not only full of admissions, but also full of lies intended

to deceive this Court and avoid having to take responsibility for his criminal conduct. During his

testimony, Lamond continued to spew falsehoods about the nature of his communications with

Tarrio, even when confronted with evidence that proved he was lying. For example, Lamond

testified that he told Tarrio that MPD had received an anonymous tip indicating Tarrio was

responsible for the banner burning, but that he did not think the tip was “of value” because it did

not contain witness information. See id. at 39:3-23. Given his background in law enforcement, it

was clear that Lamond must have known that anonymous tips can have tremendous value for

investigative purposes, even without witness information. The evidence at trial, including witness

testimony and MPD’s general orders, see Gov Exs. 3002, 3003, 3005, proved that Lamond, who

had 23 years of experience, knew it was not acceptable to provide a suspect of a crime with police

information, including the fact that MPD had received an anonymous tip.




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        As another example of Lamond’s false testimony, Lamond testified that he set the self-

destruct feature to “mirror” Tarrio’s use of Telegram, and that Tarrio had discussed that feature

with him. See id. at 22:23-5, 23:1-4, 77:1-11. As Agent Hadley testified at trial, however, it was

Lamond who first set the self-destruct timer, and Tarrio did not use the self-destruct feature with

anyone else. Gov. Ex. 4019 at 2.

        As this Court recognized: “Given the [Lamond’s] years of experience as an MPD officer,

I find his supposedly genuine understanding of his rules, his description and treatment of them as

a matter of opinion, open to interpretation, and the interpretation he offered up at trial to be strained

and incredible.” 12/23/24 Tr. at 70:10-15.

        III.    APPLICABLE LAW

                a. General Sentencing Principles

        For the federal counts of conviction, as the Supreme Court has instructed, the Court “should

begin all sentencing proceedings by correctly calculating the applicable Guidelines range.” United

States v. Gall, 552 U.S. 38, 49 (2007). “As a matter of administration and to secure nationwide

consistency, the Guidelines should be the starting point and the initial benchmark” for determining

a defendant’s sentence. Id. at 49. The Sentencing Guidelines are “the product of careful study

based on extensive empirical evidence derived from the review of thousands of individual

sentencing decisions” and are the “starting point and the initial benchmark” for sentencing. Id. at

49.

        Once the Court calculates the defendant’s advisory Guidelines range applicable to the

federal counts of conviction, it should consider the various factors set forth in 18 U.S.C. § 3553(a).

Gall v. United States, 552 U.S. 38, 49-50 (2007). To make this determination, the Court may

consider all factual evidence relevant to the conduct of conviction that is proven by a



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preponderance of the evidence, including evidence not presented to the jury, without regard to the

rules of admissibility at trial, subject to basic principles of reliability. See United States v. Bell,

795 F.3d 88, 103 (D.C. Cir. 2015) (citing Rita v. United States, 551 U.S. 338, 352 (2007));

U.S.S.G. § 6A1.3(a) (“In resolving any dispute concerning a factor important to the sentencing

determination, the court may consider relevant information without regard to its admissibility

under the rules of evidence applicable at trial, provided that the information has sufficient indicia

of reliability to support its probable accuracy.”).

       Some of the factors this Court must consider include: the nature and circumstances of the

offense, § 3553(a)(1); the history and characteristics of the defendant, id.; the need for the sentence

to reflect the seriousness of the offense and promote respect for the law, § 3553(a)(2)(A); and the

need for the sentence to afford adequate deterrence, § 3553(a)(2)(B).

       A similar process drives determination of the sentence for Count 1, the D.C. code offense.

For such violations, the court must begin by referencing the D.C. Voluntary Sentencing

Guidelines. Though voluntary, the D.C. Sentencing Commission anticipates that most defendants

will be sentenced to a guideline sentence. This is because, like the federal guidelines, the D.C.

guidelines are formed with the “bedrock principle” that “like offenses/defendants should be

sentenced alike.” See District of Columbia Sentencing Guidelines Manual at § 5.2.1 (2023). And

though the D.C. guidelines are voluntary, a judge departing from the applicable guideline range

must state the reasons for the departure on the record and communicate the reason for any departure

to the D.C. Sentencing Commission. Id.

       Just as federal law (i.e., § 3553) mandates certain factors that the Court must consider when

determining the sentence for the federal offense, the D.C. Code includes a set of factors that must

be considered when determining the sentence for the D.C. Code offense. See D.C. Code § 24-



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403.01(a). Those D.C. statutory factors mirror the U.S. Code factors, in-part and include: the

seriousness of the offense and the criminal history of the offender; the need to provide just

punishment and afford adequate deterrence; and providing the offender with needed educational

or vocational training, medical care, and other correctional treatment. Id.

                b. Interplay Between the D.C. Code and Federal Offenses

       When a defendant is facing sentencing in federal court for both federal and D.C. Code

violations – as the defendant is here – the Court should use the D.C. Voluntary Sentencing

Guidelines to determine a guidelines range for the D.C. Code offenses and the U.S. Sentencing

Guidelines to calculate guidelines for the federal crimes. United States v. Knight, 824 F.3d 1105,

1111 (D.C. Cir. 2016) (holding that “the federal Sentencing Guidelines do not apply to the

sentencing of D.C. offenses. . . . Likewise, the D.C. Voluntary Sentencing Guidelines do not apply

to the sentencing of federal offenses”). Once these guidelines are properly calculated, “how a court

is to relate a [federal] Guidelines sentence to a non-[federal] Guidelines sentence is a matter of

discretion” for the sentencing court. Id. This is because “neither set of guidelines addresses

whether sentences for federal offenses should run consecutively or concurrently to the D.C. Code

offenses when a defendant is convicted of both.” Id. Accordingly, the Court here has discretion to

fashion a sentence that accounts for both sets of guidelines.

       IV.      SENTENCING GUIDELINES

       Lamond was found guilty of one count of obstruction of justice in violation of D.C. Code

§ 22-722, and three counts of making false statements in violation of 18 U.S.C. § 1001(a)(2). A

violation of D.C. Code § 22-722 is punishable by no less than three years and not more than 30

years. A violation of § 1001 constitutes a felony offense punishable by a maximum of five years

imprisonment.



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         The Government agrees with Probation that for Count 1, pursuant to the D.C. Voluntary

Sentencing Guidelines, Lamond’s guidelines range is 36 to 84 months. And the Government

agrees with Probation that the applicable sentencing guidelines for the three violations of 18 U.S.C.

§ 1001(a)(2) in Counts 2 through 4 are:

 Guideline          Description                                                   Offense Level
 § 2B1.1(a)(2)      Base Offense Level                                            4
 § 3B1.3            Abuse of Position of Trust or Use of Special Skill            2
 § 3C1.1            Obstructing or impeding the administration of justice         2
 Total                                                                            8



         The two-point enhancement under § 3C1.1 is applicable specifically because of Lamond’s

false testimony at trial. And Lamond patently abused a position of trust as contemplated by § 3B1.3

by leaking sensitive law enforcement information to a subject of a criminal investigation without

any authority or any legal or factual basis to do so beyond his own agenda.

         V.      THE APPROPRIATE SENTENCE

         To determine an appropriate sentence, after the Court accurately calculates each

Defendant’s advisory Guidelines range, it should consider the various factors set forth in 18 U.S.C.

§ 3553(a) (for the federal offenses) and D.C. Code § 24–403.01 (for any D.C. code offense). As

noted above, the § 3553(a) factors include the nature and circumstances of the offense, the history

and characteristics of the Defendant; and the need for the sentence to promote respect for the law,

just punishment, and adequate deterrence. 18 U.S.C. § 3552(a). Similarly, D.C. Code § 24–403.01

requires this Court to impose a sentence that (1) reflects the seriousness of the offense and the

criminal history of the offender; (2) provides for just punishment and affords adequate deterrence




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to potential criminal conduct of the offender and others; and (3) provides the offender with needed

educational or vocational training, medical care, and other correctional treatment.

       The United States submits that considering these factors, a sentence of 48-months

imprisonment is appropriate and not greater than necessary to comply with the purposes set forth

in 18 U.S.C. § 3553(a)(2). The United States also submits that the imposition of 60 months of

supervised released, a $10,000 fine, and a $400 special is appropriate.

               a. The § 3553(a) Factors

                       i. The Nature and Circumstances of the Offense Support a Significant
                          Term of Imprisonment
       The nature and circumstances of Lamond’s offense support a term of 48-months

imprisonment. Lamond’s conduct from the inside of MPD is an egregious way to obstruct an

investigation and to mislead colleagues. Lamond was an experienced MPD Lieutenant whose job

required him to uphold the law. Instead, he violated the public trust. This conduct must be taken

seriously. Lamond leaked sensitive law enforcement about the BLM banner burning investigation

to Tarrio, the main suspect of that investigation, withheld evidence from the investigative team

and his superiors that would have brought Tarrio to justice sooner, and repeatedly lied about his

ongoing relationship with Tarrio.

       Lamond’s actions jeopardized the integrity of the BLM bannering burning investigation,

threatened the safety of the officers involved, and undermined the public’s trust in the District’s

police force. And after, Lamond repeatedly lied – first to Federal Agents and then to this Court –

to cover up his own criminal obstruction. The significance of this attempted coverup cannot be

understated: despite being a sworn member of law enforcement, Lamond’s reaction was to cover

up the facts and protect himself at the expense of his fellow officers and the public. This

emphasizes Lamond’s callous disregard for his responsibilities as a law enforcement officer.


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Lamond willfully ignored his duties, choosing to take steps to help Tarrio, rather than take steps

to help his colleagues bring Tarrio to justice. Thus, the nature and circumstances of the offense

warrant a term of 48-months imprisonment.

                       ii. Lamond’s History, including Criminal History, and Characteristics
                           Support a Term of Imprisonment

       Lamond’s background does not support a lesser punishment. Lamond’s status as an officer

– a 23-year veteran – and his purposeful neglect of the responsibility and honesty that position

mandates, requires the opposite. First, it is by the very fact of his position as an MPD officer that

he was able to commit these crimes. He used his position as a Lieutenant with MPD’s Intelligence

Branch to insert himself into the banner burning investigation. However, as the evidence proved

at trial, he inserted himself not to be helpful to MPD, but to be helpful to Tarrio, who admitted to

Lamond that he committed the offense – a fact the Defendant did not tell anyone at MPD. All the

while Lamond was pretending to support the investigation, he was carefully curating what

information he provided his chain of command – providing just enough to appear helpful, while

withholding information that directly implicated Tarrio. Lamond was able to help Tarrio only

because of his job as an MPD Lieutenant. That Lamond worked in a position of public service and

public trust does not weigh in favor leniency, but rather was plainly an abuse of a position of trust

as contemplated by U.S.S.G. § 3B1.3 and supports a term of 48-months imprisonment.

                      iii. The Need for the Defendant’s Sentence to Reflect the Seriousness of
                           the Offense and Promote the Rule of Law Supports a Term of
                           Imprisonment
       Lamond’s sentence must also reflect the seriousness of the offense to promote rule of law,

to provide just punishment, and to provide adequate deterrence. Law enforcement officers are a

central part of maintaining the rule of law in this country. Lamond’s crimes did significant damage

to the credibility of law enforcement generally – and MPD specifically – in carrying out this


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essential role. As the evidence presented at trial made clear, Lamond used his position as a high-

ranking police official, and deliberately disregarded his duties, to help someone who confessed to

committing a crime. This abuse of police power threatened the integrity of a criminal investigation,

delayed justice, and risked officer safety. Conduct like this erodes the public trust in law

enforcement. A sentence of 48-months imprisonment sends the messages that no one, including

MPD officers, is above the law.

                      iv. The Need for Just Punishment and Adequate Deterrence Supports
                          a Term of Imprisonment

       A sentence of 48-months imprisonment will also provide deterrence. Deterrence

encompasses two goals: general deterrence, or the need to deter crime generally, and specific

deterrence, or the need to protect the public from further crimes by this defendant. 18 U.S.C.

§ 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir. 2010). The requested

sentence will serve both here.

       With regard to specific deterrence, although Lamond admitted to his criminal conduct

when he was cross-examined, he never expressed any remorse for his crimes. Indeed, the

Defendant did quite the opposite at trial when he repeatedly lied to this Court and attempted to

justify his actions. Lamond’s obvious disregard for honesty and integrity suggest that he would

reoffend.

       With regard to general deterrence, a term of 48-months imprisonment will deter other law

enforcement officers from abusing their position of trust and obstructing justice. Lamond’s actions

here – obstructing justice and lying to cover up his actions – erodes the faith the public has in the

District’s police force and demands a level of deterrence that conveys that this type of abuse of

police power will have serious consequences.




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               b. D.C. Code § 24–403.01 requirements

       A sentence of 42-months imprisonment on Count 1 further (1) reflects the seriousness of

the offense and the criminal history of the offender; (2) provides for just punishment and affords

adequate deterrence to potential criminal conduct of the offender and others; and (3) provides the

offender with needed educational or vocational training, medical care, and other correctional

treatment, as required by D.C. Code § 24–403.01. Although Lamond does not have any prior

criminal history, he abused his position of trust, jeopardized the integrity of an ongoing police

investigation, and risked officer safety. Lamond broke the law for his own personal gain, placing

his interests ahead of the interests of the public. He was an experienced member of MPD, with a

college degree and the support of family and friends. He knew what he was doing broke the law,

but he chose to do it anyway. For these reasons, and those discussed in more detail above, the

proposed sentence of 42-months imprisonment on Count 1 satisfies the sentencing requirements

set forth in D.C. Code § 24–403.01. And, importantly, the sentence recommended by the

Government and Probation will also avoid unwarranted sentencing disparities. A review of 39

recent sentences imposed in D.C. Superior Court for offenders convicted of a violation of D.C.

Code § 22-722 indicate that 37 received a term of imprisonment, with an average term of

imprisonment of just over 49 months. 2 Lamond’s violation of § 22-722 did not involve threats or

the use of violence to obstruct justice, but Lamond’s actions were deliberate and calculating and

intended to help the perpetrator of a crime at the expense of justice.




2The sentencing data reviewed by the Government is published by the D.C. Sentencing
Commission and available at https://scdc.dc.gov/page/2023-datasets.
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       VI.     FINE

       For Count 1, obstruction of justice in violation of D.C. Code § 22-722, the maximum fine

is $75,000. See 22 DDC § 3571.01(b)(10). For Count 2 through 4, the false statement counts in

violation of 18 U.S.C. § 1001, the maximum fine is $250,000. At offense level 8, the fine range

for this offense is $2,000 to $20,000. In determining whether to impose a fine, the sentencing court

should consider the defendant’s income, earning capacity, and financial resources. See 18 U.S.C.

§ 3572(a)(1); U.S.S.G. § 5E1.2(d). In considering these factors, as Probation has detailed, see ECF

No. 102 at ¶¶ 141-48, Lamond has the resources to pay a fine. As such, the Government is asking

this Court to adopt Probation’s recommendation and order Lamond to pay a $10,000 fine.

       VII.    FORFEITURE, RESTITUTION AND SPECIAL ASSESSMENT

       The Government is not seeking forfeiture and is not seeking restitution. In this case, a

special assessment of $100 is mandatory for each count for a total of $400. See 18 U.S.C.

§ 3013(a)(2)(A).

       VIII. CONCLUSION

       Lamond’s conduct must not be taken lightly. Our government cannot function properly

when the trusted law enforcement officers violate the public trust by disregarding the laws they

have sworn to uphold and then lie the evade responsibility. The Government asks the Court to

impose a sentence of six-months imprisonment.

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                               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

Rebecca G. Ross, attorney for the United States, hereby certifies that a true and correct copy of
this memorandum has been electronically filed and accordingly served upon attorney for the
defendant.

                                            /s/ Rebecca G. Ross
                                            Rebecca G. Ross




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